                    Case 1:19-mj-02927-UA Document 4 Filed 03/25/19 Page 1 of 1

DOCKET No. \          q r'\ ~q ~ J)
AUSA
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              e;\:)..e.,~~ ~ <!)\Cl\("'\~
                            Poao \ s.~~
0                              INTERPRETER NEEDErl
                                                                            0 DEFENDANT WAIVES PRETRIAL REPORT

~ule 5         0 Rule 9 0 Rule 5(c)(3) 0 Detention Hrg.                                                      0 VOL. SURR.

b   Other: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                             DON WRIT




                                                           BAIL DISPOSITION
                                                                                                                SEE SEP. ORDER
                                                                                                                SEE TRANSCRIPT




0 HOME INCARCERATION      0 HOME DETENTION     0 CURFEW    0 ELECTRONIC MONITORING    0 GPS
0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES ,

0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR START EDUCATION                                 PROGRA~
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON                    . ··--·                                   .1.~-----
0 D~TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
~F. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:-----...,..--==--...,....-::--
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _;REMAINING CONDITIONS TO BE MET BY:f-5 - I                                                'l
ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

 - No          ~ ~d-            l,I.)   \f'h.   u:J - l,...-O'V\   s p 1 -r~v--    ~ i ~ U«f ~
     ~ cle.               f V'l.P ~0 {_(_ CT[)       c...»v~0




0 DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON _ _ _ __
0 DEF. WAIVES INDICTMENT
0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ __

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED                                          0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                               0 CONTROL DATE FOR REMOVAL: - - - - -


PRELIMINARY HEARING DATE:                 4- .l. ~- I '1
DATE:       3) J._~ ( \ 1                                                 UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
~(original)     - COURT FILE       £INK- U.S. ATTORNEY'S OFFICE         ~    - U.S. MARSHAL   QllEili - PRETRIAL SERVICES AGENCY
Rev'd 2016 IH - 2
